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15                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
16

17   DANIEL VALENTI, Individually and On Behalf          Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
18                                                       DECLARATION OF KEVIN J.
                                Plaintiff,               ORSINI IN SUPPORT OF
19                                                       DEFENDANTS’ MOTION TO
               v.                                        DISMISS AMENDED CLASS
20
                                                         ACTION COMPLAINT
21   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION and DOMINIC WILLIAMS,
22
                                Defendants.
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          DECLARATION OF KEVIN J. ORSINI IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                             AMENDED CLASS ACTION COMPLAINT
                                    CASE NO. 3:21-CV-06118-JD
            Case 3:21-cv-06118-JD           Document 62-1         Filed 04/04/22      Page 2 of 2


 1          I, Kevin J. Orsini, declare:

 2          1.      I am an attorney admitted to appear pro hac vice before this Court with respect to

 3   the above-captioned matter. I am an attorney with the law firm Cravath, Swaine & Moore LLP,

 4   counsel of record for Defendants Dfinity USA Research, LLC, Dfinity Foundation and Dominic

 5   Williams. I am one of the attorneys responsible for the representation of Defendants Dfinity USA

 6   Research, LLC, Dfinity Foundation and Dominic Williams in this matter and, as such, I have

 7   personal knowledge of the facts set forth in this declaration. If called as a witness for this purpose,

 8   I could and would testify competently under oath to the facts stated herein.

 9          2.      Attached hereto as Exhibit A is a true and correct copy of the post entitled “How to

10   Access ‘Seed’ and ‘Airdrop’ ICP Tokens and Participate in the Internet Computer Network,”

11   published on medium.com and available at https://medium.com/dfinity/how-to-access-seed-and-

12   airdrop-icp-tokens-and-participate-in-the-internet-computer-network-e6cd663a0c3c           (cited   in

13   Compl. ¶¶ 70-71, 92, 179(e)).

14          3.      Attached hereto as Exhibit B is a true and correct copy of the article entitled “An

15   Introduction to Dfinity and the Internet Computer,” published on messari.io and available at

16   https://messari.io/article/an-introduction-to-dfinity-and-the-internet-computer (cited in Compl. ¶¶

17   54-56, 75, 83, 85, 88).

18          4.      Attached hereto as Exhibit C is a true and correct copy of the article entitled “The

19   IC Launch:        A market perspective”, published on cycledao.xyz and available at

20   https://cycledao.xyz/posts/the-ic-launch-a-market-perspective (cited in Compl. ¶¶ 76, 83).

21

22          Pursuant to 28 U.S.C § 1746, I declare under penalty of perjury that the foregoing is true

23   and correct and that I executed this declaration on April 4, 2022 in New York, NY.

24
                                                    /s/ Kevin J. Orsini
25                                                  Kevin J. Orsini
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                                                      -1-
           DECLARATION OF KEVIN J. ORSINI IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
                              AMENDED CLASS ACTION COMPLAINT
                                     CASE NO. 3:21-CV-06118-JD
